Case 2:18-cv-06434-GW-RAO Document 76 Filed 01/11/21 Page 1 of 1 Page ID #:2028



   1

   2

   3

   4

   5

   6

   7

   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11    JOHN LAKE,                               Case No. CV 18-6434 GW (RAO)
  12                       Plaintiff,
  13            v.                               ORDER ACCEPTING REPORT
                                                 AND RECOMMENDATION OF
  14    DEBBIE ASUNCION, et al.,                 UNITED STATES MAGISTRATE
                                                 JUDGE
  15                       Defendants.
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s First Amended
  18   Complaint (Dkt. No. 16), all of the other records and files herein, and the Magistrate
  19   Judge’s Report and Recommendation (“Report”). The time for filing objections to
  20   the Report has passed and no objections have been received. The Court hereby
  21   accepts and adopts the findings, conclusions, and recommendations of the Magistrate
  22   Judge.
  23         Accordingly, IT IS ORDERED that this action is DISMISSED without
  24   prejudice.
  25

  26   DATED: January 11, 2021                ___________________________________
                                              GEORGE H. WU
  27                                          UNITED STATES DISTRICT JUDGE
  28
